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Following oral arguments, the Full Commission deems it necessary to re-open the record to gather additional evidence.
In its discretion, the Full Commission hereby ORDERS that:
1. The record in this matter shall be reopened for Plaintiff to undergo a third MRI, as recommended by Dr. Steven Gudeman, and to receive additional evidence from the parties after receipt of the MRI report.
2. The matter is hereby remanded to Chief Deputy Commissioner Wanda Blanche Taylor for assignment to a Deputy Commissioner to be re-heard, if necessary, specifically to address the results and implications of the third MRI for Plaintiff.
3. The Deputy Commission shall order further deposition testimony, if necessary. Upon the conclusion of the re-hearing, the Deputy Commissioner shall gather any additional *Page 2 
evidence, close the record, order a transcript of the proceedings, and forward such transcript and evidence to the Full Commission for review and decision.
4. Upon receipt of the additional evidence, the Full Commission shall enter an Order setting forth a schedule for briefing and further oral arguments, in necessary. All correspondences from the parties to the Full Commission concerning this matter shall be directed to Bernadine S. Ballance, Commissioner.
This the ___ day of September 2011.
  S/__________ BERNADINE S. BALLANCE COMMISSIONER
CONCURRING:
  S/__________ DANNY L. McDONALD COMMISSIONER
  S/__________ STACI T. MEYER COMMISSIONER
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